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                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA
MATTHEW GOMBERG,
                                                          Docket No: 2:24-cv-03042-KBH
                              Plaintiff,                  NOTICE OF SETTLEMENT

                        v.


CALERES, INC.


                              Defendant.


Now comes the Plaintiff MATTHEW GOMBERG by and through counsel, to provide notice to

the Court that the present cause has been settled between the parties, and states:

   1. A settlement in principle has been reached between Plaintiff and Defendant and a

       settlement agreement (“Agreement”) is in the process of being finalized. Once the

       Agreement is fully executed, and certain conditions have been fulfilled pursuant to the

       Agreement, the parties will submit a Stipulation of Dismissal with prejudice, and without

       costs, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and will therein request

       that the case be dismissed and closed.

   2. The parties respectfully request that the Court stay this case and adjourn all deadlines and

       conferences.


       Dated:    September 30, 2024

                                                      Respectfully submitted,
                                                      /s/ David S. Glanzberg
                                                      David S. Glanzberg, Esq.




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